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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE


 TERRY KELLY, derivatively and on behalf of
 OCULAR THERAPEUTIX, INC.

                               Plaintiff,

                v.                                          Case No. 1:18-cv-00277-VAC-SRF

 AMARPREET SAWHNEY, ERIC ANKERUD,
 JASWINDER CHADHA, JAMES GARVEY,
 JEFFREY S. HEIER, RICHARD L. LINDSTROM,
 W. JAMES O’SHEA, BRUCE PEACOCK,
 CHARLES WARDEN, SV LIFE SCIENCES FUND,
 IV, LP, and SV LIFE SCIENCES FUND IV
 STRATEGIC PARTNERS, LP,

                               Defendants,

                -and-

 OCULAR THERAPEUTIX, INC.,

                               Nominal Defendant.


                     STIPULATION AND [PROPOSED] ORDER STAYING CASE

        The parties, by and through their respective counsel, hereby stipulate and agree as

 follows:

        WHEREAS, Plaintiff commenced this derivative action on February 16, 2018;

        WHEREAS, two related derivative actions were filed in Massachusetts Superior Court,

 Suffolk County, on October 24, 2017 and December 21, 2017, respectively;

        WHEREAS, by order dated January 29, 2018, the Massachusetts Superior Court

 consolidated the two derivative actions that are pending in that court under the caption In re

 Ocular Therapeutix, Inc. Derivative Litigation, Civ. Action No. 17-3425 BLS (Mass. Super. Ct.
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 Suffolk Cnty.) (the “Consolidated Action”) and appointed co-lead counsel for the Consolidated

 Action;

           WHEREAS, on February 28, 2018, the co-lead plaintiffs in the Consolidated Action filed

 a consolidated derivative complaint, alleging substantially similar facts and claims as those

 asserted in the instant action; and

           WHEREAS, given the existence of the earlier-filed and ongoing Consolidated Action in

 Massachusetts state court, the parties to this action agree that it would be an inefficient use of

 judicial resources to proceed with parallel litigation in this forum;

           NOW, THEREFORE, it is hereby stipulated and agreed, subject to the approval of this

 Court, as follows:

           1.     This action shall be and hereby is stayed pending final judgment in the

 Consolidated Action.

           2      Notwithstanding the stay, Plaintiff may file an amended complaint.

           3.     Defendants shall not be required to answer or otherwise respond to the pending

 complaint or any amended complaint during the pendency of the stay.



                                                Respectfully Submitted,

 Dated: June 11, 2018                           /s/ Michael J. Farnan
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                                                Michael J. Farnan (Bar No. 5165)
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                                      Counsel for Plaintiff Terry Kelly



                                      /s/ Kevin M. Coen
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                                      Counsel for Defendants




       SO ORDERED this ___ day of ____________ 2018.



                                      _________________________
                                      Hon. Sherry R. Fallon
                                      United States Magistrate Judge




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